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                                   STATEMENT OF FACTS

        Your affiant, Michael D. Brown is a Special Agent assigned to the Northern Virginia
Resident Agency within the Federal Bureau of Investigation. In my duties as a special agent, I
investigate violent gangs and drug criminal enterprises. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a special agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Based on my participation in this investigation, including information received by a
confidential source (“CS-1”), 1 review of records obtained by law enforcement, and conversations
with other law enforcement officers about the same, I have learned, in substance and in part, the
following:

        The FBI has identified Ryan Scott Zink (“ZINK”) based on an FBI interview, information
obtained from open source and government databases, and the subsequent investigation described
below. ZINK is a 32-year-old white male who lives in Lubbock, Texas. CS-1 identified ZINK as
one of three individuals who attended the January 6, 2021, rally in Washington, DC. CS-1 stated
that they followed ZINK on social media during this timeframe and provided a screenshot of his
profile. Subsequent investigation revealed numerous pictures and videos of ZINK participating in
the riots at the U.S. Capitol on January 6, 2021. ZINK is a local musician and is the owner of
Pressure Clean Oil, Gas, and Wind, which is located in Lubbock, TX. The driver’s license and
photograph still of ZINK from a video obtained by law enforcement appear in Figure (1) and
Figure (2) below.




Figure (1) – ZINK DMV Photo                                  Figure (2) – Screenshot from Video


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  CS-1 provided information to FBI. CS-1 has no criminal record and the information provided
by CS-1 has been corroborated through other sources. CS-1 has requested to have his/her
identity protected.

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       On or about January 7, 2021, the FBI telephonically interviewed CS-1. CS-1 provided the
names of three individuals that had recently attended the protest in Washington, D.C. on January
6, 2021. One of the individuals was identified as ZINK. CS-1 stated that he/she followed the
individuals on social media as the event took place. CS-1 provided a Facebook screen shot of
ZINK shown as Figure (3).

                              Figure (3) – Screenshot provided by CS-1




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        Law enforcement subsequently reviewed ZINK’s Facebook account, which revealed
three videos of ZINK at the U.S. Capitol on January 6, 2021. Figure (4) and (5) are screenshots
of Zink’s Facebook profile page.




       Figure (4) - ZINK’s Facebook Profile          Figure (5) - ZINK’s Facebook Profile

       In the first video segment, ZINK had the phone camera pointed at himself. ZINK
proclaimed: “We knocked down the gates! We’re storming the Capitol! You can’t stop us!”
ZINK panned the phone camera to show the other members of the crowd around him. In the video,
ZINK pushed through the crowd to move towards the front of the Capitol. ZINK began chanting,
“we want Trump” as he moved forward. ZINK turned the camera back to himself and stated: “We
stormed the Capitol. There’s thousands of us here. They can’t stop us all!” Facing the camera,
ZINK then stated: “Get to your capitols. Get to your capitols. It’s time.” Just before the video
segment ended, ZINK, faced the phone camera, said: “We’re about to bum-rush this shit!”
Screenshots from the first video segment can be found in Figures (6) and (7). Figure (6) illustrate
ZINK’s close proximity to the U.S. Capitol.




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    Figure (6) - Picture of ZINK at Protest             Figure (7) - ZINK near Capitol

       In the second video segment, ZINK filmed the crowd as they attempted to breach a door to
the Capitol. The affaint was able to determine that ZINK was the person holding the phone camera
because he turned it onto himself showing he was in close proximity of the door breach. In
addition, ZINK stated “they’re not going to get this one.” Screenshots from this video can be found
in Figures (8) and (9).




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      Figure (8) – Attempt to Breach Capitol Door      Figure (9) – ZINK During Door Breach

        The third, and final, video segment was recorded at 3:28 p.m. on January 6, 2021. During
that segment ZINK proclaimed: “You wanted to see what it’s become? We’re in the doors!”
Towards the end of the segment, ZINK turned the video to capture an unknown subject breaching
one of the windows at the U.S. Capitol. Screenshots of these videos can be found in Figure (10)
and (11).




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        Figure (10) – Breaking Windows                 Figure (11) – Breaking Windows

       On or about January 22, 2021, Magistrate Judge G. Michael Harvey of the U.S. District
Court for the District of Columbia approved of a search warrant of ZINK’s Facebook account
(“Facebook Account”) and Instagram Account (“Instagram Account”). A review of the returns
confirmed ZINK’s presence in the Capitol.

       On January 6, 2021, ZINK messaged stating “Stop the steal!! Pray for us it’s already getting
rough.” Additionally, he had numerous “live stream” video logs during the time of the riots, which
coincide with previously attained videos from ZINK’s Facebook page.

        On January 6, 2021, ZINK posted that he was in the U.S. Capitol and that they forcibly
broke in. Specifically, ZINK wrote, “Finally lol I was there the media lied about what time it was
breached. I have pictures with time stamps to prove it.” Additionally, ZINK stated, “Literally
inside the capital shots fired on the floor there is a fire and gas and flash bangs have been used
multiple serious injuries reported.” On the same day, in a private Facebook message, ZINK stated
“Broke down the doors pushed Congress out of session I took two flash bangs I’m ok I’ll be posting
pictures in a little bit when we get back I’m hurt but we accomplished the job.”

      On January 7, 2021, ZINK elaborated on his participation in the U.S. Capitol riots on
Facebook through the following postings:



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       I went and fought for what I believe in I started no violence and even helped officers
       and injured people documented did what I felt was right. You don’t like it there’s a
       little button called Unfriend and do so immediately. A bunch of keyboard heroes
       saying what you would have done you weren’t there. You would have probably ran
       when it got heavy. I believe what I believe and if you believe different well that’s
       part of why I was there today. Standing up for all of us for the truth. You have no
       idea the hurt and pain this nation suffered today. I witnessed it first hand I saw
       people who were trained, coached, and deadset on destruction hurt police and then
       turn inward a woman died and you want to play games and talk shit to me about
       being there. History was made and I’m a part of it.

       Not everyone went inside. It was a small group of about I would say 25-30 people
       and they were the only combative ones I got super close and documented everything
       I’m not some radical right wing nut job I literally took pictures of them and saw the
       tattoos it’s not hard to identify. If you were there you could have seen this it was
       different in my life and in reporting I have seen what riots and violence looks like
       this was planned strategic trained tactical this was no ordinary rue it was a planned
       thing.

       Later on January 7, 2021, on another Facebook comment ZINK stated, “They are trying to
charge us with sedition they will have to kill me I’m not coming quietly.”

        On January 8, 2021, a Facebook private message sent from ZINK’s account stated, “I’m
afraid the time for rioting is over better clean those guns and invest in some level 4 armor.” Based
upon my training, education, and experience, the affiant believes that “level 4 armor” refers to
Level IV personal body armor, which is the highest rifle plate rated armor under the National
Institute of Justice personal body armor specifications.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
ZINK violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.




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       Finally, your affiant submits there is probable cause to believe that ZINK violated 18
U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.



                                                    _________________________________
                                                    Michael D. Brown, Special Agent
                                                    Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd of February 2021.


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                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE




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